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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION



UNITED STATES OF AMERICA                                                             PLAINTIFF

vs.                                               CRIMINAL ACTION NO. 3:16CR-136-CRS

JAMESY HAVENS (01)
DAVID FARNSWORTH (02)                                                            DEFENDANTS



                                               ORDER

       This matter was called in open court on November 8, 2017, for further proceeding.

Participating were:

       For the United States:               Joshua Judd, Assistant United States Attorney
       For Defendant Havens:                Brian Butler, Retained Counsel
       For Defendant Farnsworth:            Jonathan Clark Baird, Retained Counsel

       The United States advised the Court that all discovery has been provided, and requested

the matter be scheduled for a jury trial.

       For the reasons stated on the record, and by agreement of counsel,

       IT IS HEREBY ORDERED that this matter is CONTINUED to Friday, January 19,

2018, at 1:30 p.m., for further proceeding.             Shall the Defendants not enter into plea

agreements at that time, matter will be scheduled for a jury trial.

       The Defendants are to remain under the terms and conditions of their present bonds

pending their appearances at the hearing set by this Order.
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       Matter was previously declared COMPLEX and is, therefore, removed from the time

constraints of the Speedy Trial Act.


       Dated:   November 19, 2017




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cc:    United States Attorney
       United States Probation
       Counsel of Record

Court Reporter: April Dowell

Time: 00/05
